
In re: William August Mora, Jr., applying for supervisory and remedial writs.
Granted, with stay order. (See Order)
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Robert M. Fleming, Judge of the Sixteenth Judicial District, Court for the Parish of St. Mary, to transmit to the Supreme Court of Louisiana, on or before the 19th day of July, 1974, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 27th day of September, 1974, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
It is further ordered that, in the meantime and until the further orders of this court all proceedings against the relator in said 16th Judicial District Court shall be stayed and suspended.
